
6 N.Y.2d 934 (1959)
In the Matter of the Arbitration between James B. Carey, as President of International Union of Electrical, Radio and Machine Workers, AFL-CIO, Respondent, and Westinghouse Electric Corporation, Appellant.
Court of Appeals of the State of New York.
Argued April 8, 1959.
Decided July 8, 1959.
John D. Calhoun and John F. Hunt, Jr., for appellant.
Isadore Katz for respondent.
Concur: Chief Judge CONWAY and Judges DESMOND, DYE, FULD, FROESSEL, BURKE and VAN VOORHIS.
Order affirmed, with costs; no opinion.
Judge VAN VOORHIS concurs with respect to the discrimination grievances, and the severance grievances in view of the absence of any opportunity to the employees involved for a hearing concerning their loyalty during the grievance proceedings; but dissents and votes to modify and to stay the arbitration with respect to the furlough grievances upon the ground that concerning them there is no arbitrable question.
